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UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF VIRGINIA 7711 (£3.15 A % 33

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NICOLE SWANN OA CERCA

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Richmond Division

Plaintiff,

VS, Case No.: 3 ! | [CV 1D |

S and Z GROUP, LLC, a Virginia limited
Liability company d/b/a Bonvenu Restaurant,

Defendant.
/

COMPLAINT
Plaintiff, NICOLE SWANN ("Plaintiff"), through her undersigned counsel,
hereby files this Complaint and sues S and Z GROUP, LLC, a Virginia limited liability
company, d/b/a Bonvenu Restaurant, for injunctive relief, attorney’s fees and costs
pursuant to 42 U.S.C. §12181, et.seq., ("AMERICANS WITH DISABILITIES ACT" or
"ADA") and allege:

JURISDICTION AND PARTIES

1. This is an action for declaratory and injunctive relief pursuant to Title III
of the Americans With Disabilities Act, 42 U.S.C. §12181 et. seq. (hereinafter referred to
as the "ADA").

2. This Court is vested with original jurisdiction under 28 U.S.C. §§1331 and
1343, Venue is proper in this Court pursuant to 28 U.S.C. §1391(B) and Local Rules of
the United States District Court for the Eastern District of Virginia.

3. Plaintiff, NICOLE SWANN (hereinafter referred to as “MS SWANN") is
a resident of the State of Virginia and is a qualified individual with a disability under the

ADA. MS SWANN suffers from what constitutes a "qualified disability" under the
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Americans With Disabilities Act of 1990, ("ADA") and all other applicable Federal
statutes and regulations. Prior to instituting the instant action, MS SWANN personally
visited the Defendant’s premises, Bonvenu Restaurant, located at 2915 Cary St.,
Carytown Beach, VA, (hereinafter referred to as the “RESTAURANT”), and was denied
full, safe and equal access to the Defendant’s premises due to the barriers to access which
exist and the Defendant’s lack of compliance with the ADA. MS SWANN intends to and
continues to desire to visit the Defendant’s premises but continues to be denied full, safe
and equal access due to the barriers to access and violations which continue to exist.

4. The Defendant, S and Z GROUP, LLC, a Virginia limited liability
company, d/b/a Bonvenu Restaurant, (hereinafter referred to as “S AND Z GROUP”) is
authorized to conduct and is conducting business in the State of Virginia. Upon
information and belief, S AND Z GROUP is the owner and/or operator of the
RESTAURANT.

5. All events giving rise to this lawsuit occurred in the Eastern District of
Virginia in Carytown.

COUNT I - VIOLATION OF THE AMERICANS WITH DISABILITIES ACT

6. On or about July 26, 1990, Congress enacted the Americans With Disabilities Act
("ADA"), 42 U.S.C. §12101 et. seq. Commercial enterprises were provided one-and-a-half
years from enactment of the statute to implement its requirements. The effective date of Title III
of the ADA was January 26, 1992. 42 U.S.C. §12181; 20 C.F.R. §36.508(A).

7. Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the establishment
owned and/or operated by S AND Z GROUP is a place of public accommodation in that it is a

RESTAURANT, which provides goods and services to the public.
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g. Defendant, S AND Z GROUP. has discriminated, and continues to discriminate
against the Plaintiff, and others who are similarly situated, by denying access to, and full and
equal enjoyment of goods, services, facilities, privileges, advantages and/or accommodations at
the RESTAURANT in derogation of 42 U.S.C. § 12101 et. seq.

9. The Plaintiff has been unable to and continues to be unable to enjoy access to, and
the benefits of the services offered at the RESTAURANT. Prior to the filing of this lawsuit, the
Plaintiff visited the Defendant's premises and was denied access to the benefits,
accommodations and services of the Defendant’s place of public accommodation and therefore
suffered an injury in fact. In addition, the Plaintiff continues to desire and intends to visit the
RESTAURANT, but continues to be injured in that she is unable to and continues to be
discriminated against due to the architectural barriers which remain at the RESTAURANT in
violation of the ADA. MS SWANN has now and continues to have reasonable grounds for
believing that she has been and will be discriminated against because of the Defendant’s
deliberate and knowing violations of the ADA.

10. Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the
Department of Justice, Office of the Attorney General, promulgated Federal Regulations to
implement the requirements of the ADA 28 C.F.R. Part 36.

11. § AND Z GROUP is in violation of 42 U.S.C. § 12181 et.seq_and 28 C.F.R. §
36.302 et.seq., and are discriminating against the Plaintiff as a result of inter alia, the following
specific barriers to access:

j. The entrance to the facility has no level landing, only a step up;
ii. There is no lowered section at the bar;
ill. there . insufficient number of accessible seating positions/tables at the

Women’s Restroom:
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iv. The only restroom is many steps down to enter;

y. There is insufficient maneuvering clearance to the exit doors and inside the stall;
vi. There is no accessible signage at the restroom door,

vii. There is no accessible stall provided;

viii. There is no rear grab bar provided;

ix. The side grab bar is too short;

x. The water closet is too close to the side wall;

12. There are other current violations of the ADA at the RESTAURANT owned
and/or operated by SAND Z GROUP which are not specifically identified herein as the Plaintiff
is not required to engage in a futile gesture pursuant to 28 C.F.R. Part 36, § 36.501 and, as such,
only once a full inspection is performed by Plaintiff or Plaintiff's representatives can all said
violations be identified.

13. To date, the readily achievable barriers and other violations of the ADA still exist
and have not been remedied or altered in such a way as to effectuate compliance with the
provisions of the ADA.

14. Pursuant to the ADA, 42 U.S.C. § 12101 et. seq., and 28 C-F.R. § 36.304, S
AND Z GROUP was required to make the subject property, a place of public accommodation,
accessible to persons with disabilities by January 28, 1992. To date, S AND Z GROUP has
failed to comply with this mandate.

15. The Plaintiff has been obligated to retain undersigned counsel for the filing and
prosecution of this action. Plaintiff is entitled to have her reasonable attorney’s fees, costs and
expenses paid by S AND Z GROUP pursuant to 42 U.S.C. § 12205.

16. Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant
Plaintiffs injunctive relief, including an order to alter the subject facility to make it readily

accessible to, and useable by, individuals with disabilities to the extent required by the ADA, and

closing the subject facility until the requisite modifications are completed.
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WHEREFORE, the Plaintiff demands judgment against S AND Z GROUP and requests
the following injunctive and declaratory relief:

A. That the Court declare that the property owned and
administered by S AND Z GROUP is violative of the
ADA;

B. That the Court enter an Order directing S AND Z
GROUP to alter the subject facility to make it
accessible to and usable by individuals with disabilities
to the full extent required by Title III of the ADA;

C. That the Court enter an Order directing S AND Z
GROUP to evaluate and neutralize its policies,
practices and procedures toward persons with
disabilities, for such reasonable time so as to allow
them to undertake and complete corrective procedures;

Dz That the Court award reasonable attorney’s fees, costs
(including expert fees) and other expenses of suit, to
the Plaintiff; and

E. That the Court award such other and further relief as it
deems necessary, just and proper.

Dated February 14, 2011 Respectfully submitted,

/s/ James T. Tsai / a

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